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UNITED STATES DISTRICT COURT
EASTERN DIsTRICT OF PENNSYLVANIA

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Gears€..;                  LUgs Nee                                                    COMPLAINT
                                                                                             undorthc
                                                                                 Civil Rigbts Act. 42 U .S.C. I 1983
                                                                                        (Prisoner Complaint)


                                                                                    Jury Trial: eYes        0     No
                                                                                                    (che::lc: OlIO)




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Pan L ~. 61tould noI bttlttt:ludMlluln.)


1.          Partlea ill tJda eomplaJat:

A.          List yoIII' namc, identification number, aDd the namc aDd address of your curren~ place of
            confiDemcnL Do the samc for aDy addition!U plaintiffs named. Attach additioD~ sbects of paper
            as neCOllsary.
                                                                                                                       •
Plaintiff              Namc~~~~__~~~~~~~~__~~~~~~_______

                       ID'--~~~--~~~~~~~~                                      ___~~<7~~~~~                     _ __




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B.       List all defendants' names, positions. places of employment, and the address where each defendant
         may be served. Make sure that the defendant(s) listed below are identical to those contained in the
         above caption. Attach additional sheets of paper as necessary.

Defendant No. 1




Defendant No. 2'            Nam:<cec6S            CA"!lJY iAwrtAZ '                           Shield , _ __

                            -..c.....d'BmplO'.. ~~: ?=::~~
                            Address     d233      CaurL'2T ~d!! ~PIi
                                    IfIL??!

Defendant No.3              Name     ~c1(6          C,veflr a~ Sa AJ                          Shield , _ __
                                                        c :...                " _ _ _ _ _--r_ _ _ __
                            Where Currently Bmployed _j::X.\._::J.£lM~€"'"-"<:"""


                            ~{~'1~t-d
Defendant No.4




                                                                           it.           4'
Defendant No • .s           Name c"'<U"(""ec,+:C),(.lo. La(6-L:e.<               k
                                                                   J Sbield , _ __
                            Where Currently Employed tk{gs C19dtf::,r~"    ~t'SnM­
                            Address /an C:w&it Pth~ Pd
                            cAfes t':::::a.rr];?a            I j   530
IL       StatemeDt or Claim:

State as briefly as possible the f!!:!! of your case. Describe bow ~ of ~e defendants named in tho
caption of this complaint is involved in this action, alonl with the dates and locations of all relevant events.
You may wish to include further details sucb as the names of other persons involved in the events livinl
rise to your claims. Do not cite any cases or statutes. If you intend to allele a number of rdated claims.
number and set forth each claim in a separate paragraph. Attach additional sheets of paper as neeeisary,

A.       In wbat institution did the events givinl rise to your c:.m.(s) occur?
                            <   l
                                                                                     ~K S


C.       What date and approximate time did the events giving rise to your daim(s) occur?
..Q(J/O               ,
                    ~;>m

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                 m.       lDJarIa:

                 If you sustained injuriel related to the eVODm aile
                 treatment, if any, you'iCquirod and received. ---=""--:....r....:;...:'-"''----'-''-=--'''''-:---'-t--F-.::...;::;...;=­
                 X       tA..8 s       7 .,. tl'e&           "S a (YY"             "   c.e....




                 IV.      BldaautiOD of AdmlDlatrative Remedies:

                 The Prison Litigation Reform Act ("PLRA "),42 U.S.C. t 1997e(a), requirel that" [n]o action Ihall be
                 brought with rCapcct to prilon condition I under lection 1983 of this title, or any other Pederallaw, by a
                 prisoner confined in any jail, prison, or other correctional facility until such adminiltrative remedies as are
                 available are exhaulted." Administrative remediel are also known as grievance procedures.



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A.      Did your claim(s} arise while you were confined in a jail. prison. or other correctional facili!y?

         xe~No_
If YBS. name the jail. prison. or otber correctional facility where you were confined at the time of the
events giving rise to your Claim(S).~ J' .,(,       s          ~t.NtftV/..::rq,                IL
                                                                               I



B.       Docs the jail. prison or other correctional facility where your claim(s) arose bave a grievance
         procedure?

         Yes   x-;,   0 _    Do Not Know __


C.       Docs the grievance procedure at the jail. prison or other correctional facility wbere your claim(s)
         arose cover some or all of your claim(s}?

         Yes __ No _ _ Do Not Know           K
         If YES. which claim(s)? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __



D.       Did you file a grievance in the jail. prison. or other correctional facility wbere your claim(:;, arose?

         Yes¥... No _ _

         If NO, did you f'lle a grievance about the events described in this complaint at any other jail,
         prison. or other correctional facility?
         Yes __ No __


E.       If you did file a grievance. about the events described in this complaint, where did you file the
         grievance?
        :::l=- Se.nJt q0t)em~.< i                     N
         1.        Which claim(s) in this complaint did you grieve? _-"-..Lli""l~p::sa.rt:C.!.---L...e.J!..L!~UJ~
                  ~                 ~                        ,       ,

         3.       What steps. if any. did you take to appeal that decision? Describe all efforts to appeal to
                                       C4...,szkc-&pk t;;;lelAte...
                   the blahest level of the grievance process.
        ~          S rteV4NCR< )s "l:hz h,;<y he.-s <U= le:tJeJ. <




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    fl.       If you did Dot file a srievance:


               1.         If theRl aIC any RlasODS wby you did oot file a grievance. state them bere: _ _ _ _ __

                                                       4-&*


               2.         If you did Dot fde a grievance but informed any officials of your claim. state who you
                          informed. when and how, and     ~iidr ~sponlO,    if any:_ _ _ _ _ _ _ _ _ _ _ __

                                                    XX..J<:



     O.        Please sot forth any additioDal iDformatioD"that is n:levant,1O the exb...s~oo of your administrative
               remedies.                  '
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"    Note:      You may attaGb as ea.bibitll to this compJatDt any d~umentll related 10 the expaustion of your
                administrative RlmcdiOl.                    ;,



     v.         RelIet:

                                                                                                       1
    , State what you want th~ Court to do for YQu (iDcludiDS the amoURt of mo etsry compensatioD, if any, that
      you arc 'liookinS and the basis for suob amouDt).         ,"', .      ~             ','          -:t .
                                                                    .s               "v




      R.". 11112009                                          - 5­




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                         Case 5:10-cv-07234-RB Document 6 Filed 01/05/11 Page 7 of 16




            VL      PreYiolUllawsuJ.ts:

            A.      Have you filed other lawsuits in state or federal court deaUna with the same facts involved in this
                    action?

[I]
cIUn.
     n
 III. . .



            B.
                    Yes _ _ N o X

                     If your answer to A is YBS, describe each lawsuit by II.Nwering questions 1 through 7 below. (If
                    there is more than one lawsuit. describe the additional lawsuits on another sheet of paper, using
                    the same format. )

                    1.       Parties to the previous lawsuit:
                    Plalntiff _________________________________________________________________

                    Defendanta ______________________~-------------------------------------

                    2.       Court (if federal court. name the district; if state court. name the county) _ _ _ _ __
                    3.
                                                                  •
                             DocketorlDdexnumber ______________________________________________

                    4.       Name of Judge assigned to)'our case _____________.,....____~----_ _---­

                    S.       Approximate date of filing lawsuit ___------------------------------­

                    6.       Is the case still pending?   Yes __ No __

                             If NO. give the approximate date of dJsposition ________________________


            R.v. fMOOG                                          - 8­

                                                                       :   .                                              ~iJl
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                                                  damages
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dt-f.   .f:~ ~ o.:+tQ.<:..1<.:S OI~ ~ "') A.IQ+Ja-~


 compensatory damages in the amount of  S-. coo. did
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 nominal damages in the amount of




 An admission that my civil rights were violated.
 All costs incurred by plaintiff in this matter.
 A jury trial on all issues trial by jury.
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                    7.          What wu the result of the case? (For example: Was the case dismissed? Was there
                                judgment in your favor? Was the case appealed?) _ _ _ _ _ _ _ _ _ _ _ __




                                                                    i
           C.        Have you filed olher lawsuits in state or federal court?



0 On
DIII.-
1IIIIIm.

           D.
                     Yes~No _ _             .

                     If your IUllIwer to C is YES, describo each lawsuit by IUllIworinl qUOl*,ODS 1 Ihroulb 7 bc1ow. (If
                     Ihere is more than ODe lawsuit, describe the additional lawsuits on anolher piece of paper. USing
                     Ihe same'format.)                                                     .

                    I.          Parties to the previouslawlluit:

                    Plaintiff   7Ao \ .A eohe;J
                    Defendants     ;::rPkvv Rv~h..)                       N(M) Y.eJ'sQ rJ Cettf'to£

                    2.          Court (if federal court, name Ihe district; if stste court, name Ihe county)   fut<.. S
                    3.          Docket or Index number      /0          1-      I   ~ S-?
                    4.          Name of Judie asBiIDed to your case           J e..p.t::~ Y-- S   jdce cher
                    s.          Approximate date of filinllaWSuit' .         etc Jt4i' {JJ;j i(J ;,            90 I C)
                    6.          Is the case 1100 ponding?   Yes    ts:::.- No __
                                If NO, give Ihe approximate date of disposition _ _ _ _ _ _ _ _ _ _ _ _ __

                    7.          What was Ih~ result of the case? (For example: Was Iho case dismissed? Was Ihere
                                judgment in ypur favor? Was the case appealed?) _ _ _ _ _ _ _ _ _ _ _ __




           I declare UDder pen....., ot peI'~ that tile tORpiDa" true and correct.

           Siped lhis.flL day of          it!oIetA1 bee                              .20 t t) .


                                                                   Silnature of     Plalntiff~' a
                                                                           Inmate   Nu~ber {3tlO/19"5t
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!i9!!!.:   All plaintiffs named in the caption of the complaint must date and sign the complaint and provide
           their inmate numbers and addresses.




I declare under penalty of perjury that on this   1-   day of __ 12...!!··~.f-=.;;G~____•20-.l!t. 1 am deliverinl
this complaint to priSOD authoritiea to be mailed to the Clerk's Office of the United States District Court for the.
Eastern District of PenDsylvania.




                                                  ......... OfPloln~~.G.IL-




"e'l. 1012008                                          - 8­
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         .c ___




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                                 Case 5:10-cv-07234-RB Document 6 Filed 01/05/11 Page 13 of 16




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                                         Case 5:10-cv-07234-RB Document 6 Filed 01/05/11 Page 15 of 16
            BERKS COUNTY PR:SON                                                                                                                                INMATE COMMUNICATION FORM
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            NOTE:           iirit:ng in ~res;onse seetlon v:11 resu!t ill fori                                                            Inmate Signature       L--........;;::O""C
                            being filed unanswered                                                                                                             ~~----~~--~--------~-


            RESPONSE                                                                   DATE                        If   ,II)... ,flo               STAFF MEMBER                        (4 4..fb:.?

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        209-REC-8            (Rev. 4/92)                    Original-Treatment File                                                                      Canary-Return to inmate with response

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                        Case 5:10-cv-07234-RB Document 6 Filed 01/05/11 Page 16 of 16
                                                             BERKS COUNTY PRISON                                        SEP 17 '10MIi011~


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                                                           INMAte GRIEVANCE FORM

InmateName~&~!:...--/--:::.C;="""!k:......c:Jo·,,-,,-vV~-L.9_-L-/¢~;J...:;....:o:.~~VVBCP#2~//;73;;rc
                                     Instructions: Refer to the inmate handbook for information on the inmate grievance system.     "
                                                            Constitnent Services Of!ker Use Only

 o   Does not fit criteria for an emergency/sensitive grievance       o    Form Is incomplete                 o   Resubmit on proper form

                                 o   Lacks details                                     o    Must be completed In English

 Statement: Detail the act or condition which caused this grievance. (Be specific; list all dates, times, locations and witnesses.)




Re.:eived by Constituent Services


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                                     Grievance#----r-                                         Date Posted___-+_ _ __


 Original: Treatment File        Canary: Return to inmate with response                                 FORMI R.BC120     PubIioherllJPubliclFonnsIInmaIe Orievancc Form
